     Case 2:14-cv-07770-SS Document 13 Filed 10/31/14 Page 1 of 2 Page ID #:34



 1   Michael S. Agruss (SBN: 259567)
     AGRUSS LAW FIRM, LLC
 2   4619 N Ravenswood Ave, Suite 303A
     Chicago, IL 60640
 3   Tel: 312-224-4695
     Fax: 312-253-4451
 4   michael@agrusslawfirm.com
     Attorney for Plaintiff,
 5
     LEROY TESSINA

 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9                                     SOUTHERN DIVISION

10   LEROY TESSINA,                                 )
                                                    )
11                  Plaintiff,                      ) Case No.: 2:14-cv-07770
            v.                                      )
12                                                  )
                                                    ) NOTICE OF VOLUNTARY DISMISSAL
13
     DYNAMIC RECOVERY SOLUTIONS,                    )
     LLC,                                           )
14                                                  )
                    Defendant.                      )
15                                                  )
                                                    )
16

17                                NOTICE OF VOLUNTARY DISMISSAL
18
            Plaintiff, LEROY TESSINA, through his attorneys, Agruss Law Firm, LLC, and pursuant to
19
     Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses this case, with prejudice, against
20
     Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC,
21

22                                         RESPECTFULLY SUBMITTED,

23                                                By: _/s/ Michael S. Agruss SBN: 259567
                                                          Michael S. Agruss
24
                                                          Agruss Law Firm, LLC
25                                                        4619 N. Ravenswood Ave. Suite 303A
                                                          Chicago, IL 60640
26                                                        Tel: 312-224-4695
                                                          Fax: 312-253-4451
27
                                                          michael@agrusslawfirm.com
28                                                        Attorney for Plaintiff


                                                        1
     Case 2:14-cv-07770-SS Document 13 Filed 10/31/14 Page 2 of 2 Page ID #:35



 1                                    CERTIFICATE OF SERVICE

 2     On October 31, 2014, I electronically filed the Notice of Voluntary Dismissal with the Clerk of the
     U.S. District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of
 3
     Settlement to defense counsel, Chad Echols, at chad.echols@theecholsfirm.com
 4
                                                 By: /s/Michael S. Agruss_____
 5                                                      Michael S. Agruss
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                       2
